     Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 1 of 19




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

CHARLES TOWNSLEY, et al.,            )
                                     )
      Plaintiffs,                    )
v.                                   )   Case No. 1:20-cv-00969-DAE
                                     )
INTERNATIONAL BUSINESS               )
MACHINES CORPORATION,                )
                                     )
       Defendant.                    )




              DEFENDANT’S MOTION FOR A PROTECTIVE ORDER
                  TO LIMIT SCOPE OF 30(B)(6) DEPOSITION
       Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 2 of 19




       Despite Defendant International Business Machines Corporation’s (“IBM”) desire to avoid

involving the Court in another discovery dispute following the scheduled close of discovery, and

despite its good faith efforts to accommodate Plaintiffs’ overbroad 30(b)(6) Deposition Notice,

IBM finds itself in the position of asking the Court for a protective order. As this Court previously

heard, IBM has already produced reams of discovery, including 93,486 data points for IBM U.S.

employees. Nevertheless, Plaintiffs continue to insist that IBM produce a corporate representative

to testify as to headcount changes, hiring, layoffs, and ages of employees outside the United States,

as well as data for employees in business groups in which no Plaintiff ever worked and who were

separated in resource actions that did not impact any Plaintiff.

       Simply stated, data from other countries is not relevant to any of the claims or defenses in

this case, and would be extremely burdensome, if not impossible, to produce. Plaintiffs’ claims

arise under the Age Discrimination in Employment Act (“ADEA”), which applies only in the

United States, and under Texas state law. Producing data regarding employees who are not subject

to either of these laws, and instead are governed by a myriad of country-specific employment laws,

would be entirely irrelevant. Moreover, it would be difficult, if not impossible, to provide age data

for employees outside the United States because international data privacy laws severely restrict

the transfer of such information. In addition, as to data for other business groups and other resource

actions, this Court recently ruled that discovery should be limited to the groups in which Plaintiffs

worked and to resource actions funded out of the Concord, Maple, and Palm pools of restructuring

funding.1 Further, it is unreasonable to demand, as Plaintiffs do, that a corporate designee provide

hundreds of data points in the form of live deposition testimony. Because Plaintiffs seek

information that is irrelevant, overbroad, and unduly burdensome to both collect and on which to


       1
           Dkt. 96 at 1-2.
       Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 3 of 19




produce a live witness, IBM respectfully requests that the Court enter a protective order pursuant

to Fed. R. Civ. P. 26(c)(1)(D) limiting Topics 1, 2, 11, and 12 of Plaintiffs’ 30(b)(6) Notice to

employees of IBM U.S. and reiterating that discovery of demographic data should be limited to

the business groups in which Plaintiffs worked at the time of their separation and to resource

actions funded by the Concord, Maple, and Palm pools per the Court’s previous discovery rulings.

I.     BACKGROUND

       A.        The Parties

       IBM is a Fortune 50 technology company that operates across the globe. In 2020, it

employed approximately 346,000 people. 2 These employees are employed through country-

specific entities in more than 175 countries.3 Plaintiffs are eight former employees who separated

from IBM between 2018 and 2020, and all of them worked for IBM U.S. in Texas.4 Plaintiffs

assert individual claims of disparate treatment under the Age Discrimination in Employment Act

(“ADEA”) and Texas state law.5

       B.        Reductions-in-Force at IBM

       Seven Plaintiffs separated from IBM as part of a “resource action,” IBM’s term for a

reduction-in-force.6 As IBM has previously detailed to this Court, resource actions are wholly

planned and executed within individual business groups (i.e., Systems or Global Technology




       2
         IBM, 2020 Annual Report, at 29 (2020); Ex. 1, Declaration of Niamh Long (“Long
Decl.”) at ¶ 3.
       3
           Id.
       4
           See Dkt. 82 at 5-6; Dkt. 1 at ¶ 10.
       5
           Dkt. 1 at ¶ 1.
       6
         The eighth Plaintiff, Kelly, was fired after failing a performance improvement plan. See
Dkt. 82 at 5-6.


                                                 2
       Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 4 of 19




Services). 7 Resource actions are also planned and executed separately within each country. 8

Unlike IBM U.S. employees, employees outside the United States have individual employment
                                                                                                   9
contracts with the country-specific corporate entity by which they are employed.

       Unsurprisingly, each foreign country has different labor and employment laws that govern

restructuring and resource action processes. 10 For example, Japanese law does not permit

involuntary reductions-in-force unless the employer is on the verge of insolvency.11 Accordingly,

in order to reduce headcount in Japan, IBM Japan generally must offer voluntary exit packages to

incentivize employees to separate.12 In Germany, on the other hand, IBM Germany must engage

in negotiations with the local works council regarding the design of the resource action, including

whether certain groups of employees will be prioritized over others in terms of selections and

separation benefits.13

       All the Plaintiffs in this lawsuit worked for IBM U.S., and thus, they were separated as part

of resource actions in the United States. For the reasons set forth above, resource actions in IBM

U.S. are planned and implemented separately from resource actions in other countries, such as

IBM Japan, IBM Germany, IBM Malaysia or IBM Brazil.14 This is explicitly reflected in the




       7
           Id. at 3-5.
       8
           Ex. 1, Long Decl. at ¶ 5.
       9
           Id. at ¶ 4.
       10
            Id. at ¶ 5.
       11
          Id.; see also Three ways to dismiss employees in Japan, Emp. L. Worldview (Mar. 29,
2016), https://www.employmentlawworldview.com/three-ways-to-dismiss-employees-in-japan/.
       12
            Ex. 1, Long Decl. at ¶ 5.
       13
            Id.
       14
            Id. at ¶¶ 5-6.


                                                3
       Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 5 of 19




training materials for resource actions in the United States, which make clear that selections must

be limited to IBM U.S. employees15:




       C.        Discovery to Date

       Discovery in this case spanned over 13 months,16 during which time IBM has provided

expansive discovery to Plaintiffs. In total, IBM has produced over 206,000 pages comprising over

40,000 documents. IBM’s production includes documents related to the individual Plaintiffs, such

as their compensation records and performance reviews. At Plaintiffs’ request, IBM also produced

tens of thousands of emails from its current and former Chief Executive Officers, Chief Human

Resources Officers, Chief Financial Officers, and other C-suite executives. IBM further provided

thousands of documents related to the planning and execution of the resource actions that impacted

Plaintiffs, including communications regarding each Plaintiff’s separation.

       By mid-February 2022, IBM had also produced demographic data for thousands of IBM

U.S. employees. IBM provided files containing the names and ages of the 1,154 employees who



       15
          See, e.g., Ex. 2, Declaration of Edward M. “Ted” Smith (“Smith Decl.”), its Ex. J
(training materials provided to Hoque in connection with a resource action in Global Technology
Services in the United States in 2018).
       16
            Dkt. 37 at ¶ 6.


                                                4
        Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 6 of 19




worked in Plaintiffs’ business units and were considered for layoff in the resource actions that

impacted Plaintiffs. In addition, IBM produced 84,754 dates of birth for IBM U.S. employees to

show that the median age in the Plaintiffs’ groups did not meaningfully change between 2016 and

2020.

        Plaintiffs have also deposed no fewer than seven senior executives from IBM’s Human

Resources group, including IBM’s former Chief Human Resources Officer Diane Gherson and

IBM’s current Chief Human Resources Officer Nickle LaMoreaux.

        Notwithstanding the significant discovery provided by IBM, on February 25, 2022,

Plaintiffs filed a Motion to Compel seeking additional documents and data. 17 Specifically,

Plaintiffs asked the Court to (1) issue a “global ruling” that information related to the Concord,

Maple, and Palm funds was discoverable; (2) order IBM to produce corporate-wide demographic

data for the dozens of resource actions in the United States18 that were funded out of the Concord,

Maple, and Palm pools of restructuring funds; and (3) order IBM to produce corporate-wide

documents related to Concord, Maple, and Palm.19 In their Reply, Plaintiffs also added an entirely

new request, demanding that IBM produce all documents across the entire company merely

containing the words “Concord,” “Maple,” or “Palm.”20

        On April 26, 2022, following oral argument, the Court rejected the majority of Plaintiffs’

arguments and issued an order that IBM produce demographic data in response to two previous

specific Requests for Production for resource actions “limited, as to each remaining plaintiff as of


        17
             Dkt. 75.
        18
           See Ex. 2, Smith Decl., its Ex. A at 3 (defining the term “RA” as “any Resource Action,
reduction-in-force, layoff or group termination program affecting two or more employees, and
shall refer solely to IBM’s United States’ operations unless otherwise specified”).
        19
             Dkt. 75 at 5-6.
        20
             Dkt. 89 at 11.


                                                 5
       Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 7 of 19




the date of this order, by (1) the ‘group’ in which the plaintiff was employed at the time the plaintiff

was laid off by IBM (e.g., ‘Systems’); and (2) the Resource Action/Restructuring Pool applicable

to the plaintiff at the time of his or her layoff (i.e., ‘Concord,’ ‘Maple,’ or ‘Palm’).” 21 IBM

complied with the Court’s Order and completed this production on May 26, 2022, which included

data points for several thousand additional IBM U.S. employees.

       D.        Plaintiffs’ 30(b)(6) Deposition Notice

       Days after Plaintiffs filed their Motion to Compel in February 2022, Plaintiffs noticed a

30(b)(6) deposition of IBM.22 The Notice identified the following 18 topics:

             1. IBM’s headcount composition since 2014, including but not limited to, total
                headcount by year for All Business Segments and All Geographic Regions.
             2. For All Business Segments and All Geographic Regions: i) the date of notification
                for each wave; ii) the date of separation for each wave; iii) the number of employees
                separated; iv) the average age of all employees immediately prior to
                commencement of the RA; and v) the average age of all employees immediately
                after completion of all waves of the following resource actions:
                    a. Apollo
                    b. Chrome
                    c. Saturn
                    d. Solitaire
                    e. Baccarat
                    f. Concord
                    g. Maple
                    h. Palm
                    i. Sycamore
             3. IBM’s planning and execution to Near Shore or Offshore its employees for All
                Business Segments since 2014.
             4. IBM’s planning and execution of Skills for Value for All Business Segments and
                All Geographic Regions.
             5. IBM’s efforts to recruit, attract, engage and/or retain Millennials since 2014.
             6. IBM’s efforts to recruit, attract, engage and/or retain Early Professional Hires
                (EPH) since 2014.
             7. The process by which Resource Actions are initiated, managed, tracked and
                reported internally.



       21
            Dkt. 96 at 1-2.
       22
            Ex. 2, Smith Decl., its Ex. B.


                                                   6
       Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 8 of 19




             8. IBM’s development and use of any workforce management and location-based
                 strategies used to analyze and manage the physical location of its employees,
                 whether US or non-US, including but not limited to:
                     a. Skills for Value (SFV)
                     b. Project X.
             9. HR Spring Plans for All Business Segments since 2014.
             10. HR Fall Plans for All Business Segments since 2014.
             11. The total number of employees hired by IBM since 2014, by year, for All Business
                 Segments and All Geographic Regions.
             12. The total number of Early Professional Hires hired since 2014, by year, for All
                 Business Segments and All Geographic Regions.
             13. The creation, purpose, and function of “Millennial Corps.”
             14. The creation, purpose, and function of “Summit Hires.”
             15. The creation, purpose, and function of “CbD.”
             16. From 2014, information provided to IBM’s Board of Directors regarding efforts to
                 transform IBM’s workforce.
             17. The identity of persons participating in preparation of the spreadsheets IBMK-D-
                 000001 – IBMK-D-000011.
             18. All sources of information, including documents and data on which spreadsheets
                 IBMK-D-000001 – IBMK-D-000011 are based.

       On March 8, 2022, counsel for IBM notified Plaintiffs that the requests comprised an

“unreasonably overbroad number of topics,” and as set forth below, made multiple attempts over

the course of the next following weeks to reach a reasonable compromise with Plaintiffs.23

                Following several meet and confer negotiations, on April 1, 2022, Ted Smith,
                 counsel for IBM, sent a letter to Plaintiffs’ counsel setting forth agreements
                 reached by the parties regarding various remaining discovery matters. Pursuant
                 to these agreements, the parties agreed to extend the original discovery period
                 from April 1, 2022 to May 16, 2022 for the sole purpose of conducting the
                 depositions identified in the April 1, 2022 letter, as well as potential discovery
                 motions. The identified deposition in the agreements included Plaintiffs’
                 requested 30(b)(6) deposition; however, the agreements specifically reiterated that
                 “as previously stated, we intend to address the overly broad nature of the requested
                 topics by separate correspondence.”24

                 On April 12, 2022, Mr. Smith sent a letter to Plaintiffs’ counsel asserting several
                  objections to the requested topics.25 For example, IBM pointed out that the term
                  “CbD” (Topic 15) is specific to the Global Business Services group and that no

       23
            Ex. 2, Smith Decl. at ¶ 4 & its Ex. C.
       24
            Id. at ¶ 5 & its Ex. D.
       25
            Id. at ¶ 6 & its Ex. E.


                                                     7
       Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 9 of 19




                    Plaintiff worked in that group.26 IBM also asserted that many of the topics (Topics
                    1, 2, 11, 12, 17, and 18) sought information that would be more conveniently and
                    efficiently obtained through an interrogatory.27 IBM also objected to the extent
                    the topics sought information about foreign employees outside the United States.28

                   The next day, April 13, 2022, Andrew Broadaway (co-counsel for IBM) and Mr.
                    Smith participated in a call with Plaintiffs’ counsel, Heidi Coughlin, to discuss the
                    proposed compromises regarding the topics listed in Mr. Smith’s April 12, 2022
                    letter. 29 Plaintiffs’ counsel refused to compromise on any of their 30(b)(6)
                    deposition topics and further communicated her belief that the Court’s resolution
                    of Plaintiffs’ Motion to Compel would inform the appropriate scope of the
                    30(b)(6) deposition topics.30 Plaintiffs’ counsel went on to state that the parties
                    should delay further negotiations regarding the 30(b)(6) deposition topics until
                    after the Court had made its ruling regarding Plaintiffs’ Motion to Compel.31

       Following the Court’s April 26, 2022 ruling on Plaintiffs’ Motion to Compel, additional

communications were exchanged between counsel for IBM and Plaintiffs’ counsel regarding

Plaintiffs’ 30(b)(6) deposition topics.32 On May 9, 2022, Mr. Smith had another meet and confer

call with Ms. Coughlin to discuss the 30(b)(6) deposition and other discovery matters.33 Counsel

memorialized these negotiations in email correspondence between Mr. Smith and Ms. Coughlin

from May 10 – May 13, 2022 wherein the parties agreed to the following with respect to the

30(b)(6) deposition34:

                   The parties agreed to extend the previously extended May 16, 2022 deadline for
                    Plaintiffs to conduct reasonable 30(b)(6) deposition(s).



       26
            Id. its Ex. E.
       27
            Id.
       28
            Id.
       29
            Id. ¶ 7.
       30
            Id..
       31
            Id.
       32
            Id. ¶ 8.
       33
            Id. ¶ 9.
       34
            Id. ¶ 9 & its Ex. F.


                                                     8
      Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 10 of 19




                   Plaintiffs agreed to review IBM’s April 12, 2022 letter providing objections and
                    responses to Plaintiffs’ 30(b)(6) topics and determine which topics could be
                    addressed through interrogatories, modified, or withdrawn. Plaintiffs agreed to
                    provide that response to IBM on or before May 16, 2022.

                     On or before May 18, 2022, IBM agreed to provide names and dates for
                      individuals to address the remaining 30(b)(6) topics to which IBM agrees to
                      designate 30(b)(6) representative(s).

       In Plaintiffs’ May 16, 2022 written response to IBM’s objections, Plaintiffs once again

largely refused to compromise in any substantive manner. Plaintiffs continued to decline to

convert any of the topics to interrogatories, and refused to limit Topics 1, 2, 11, and 12 to IBM

U.S. employees, the groups in which Plaintiffs worked, or the resource actions funded out of the

Concord, Maple, and Palm pools.35

       IBM, on the other hand, made a good faith effort to resolve the parties’ dispute in its May

18, 2022 correspondence to Plaintiffs’ counsel. In the spirit of compromise, IBM agreed to

designate witnesses to testify as to all but one of the noticed topics, with minimal limitations, and

provided the deponents’ identities and availability.36 In particular, IBM reiterated its objections to

providing data on foreign employees outside the United States, and also noted that Topics 1, 2, 11,

and 12 sought data beyond the scope of discovery outlined in the Court’s April 26, 2022 Order by

seeking data for groups in which Plaintiffs never worked and for resource actions that were not

funded by the Concord, Maple, or Palm pools.37 Accordingly, IBM indicated that it would limit

its testimony on Topics 1, 2, 11, and 12 to IBM U.S. employees, the groups in which Plaintiffs

worked, and resource actions funded by the Concord, Maple, or Palm pools.38


       35
            Id., its Ex. G.
       36
            Id., its Ex. H.
       37
            Id.
       38
           Because IBM has already produced demographic data for all IBM U.S. employees in
Plaintiffs’ groups as of year-end 2016, see Dkt. 82 at 2, 7-8, IBM also indicated that it would only


                                                   9
      Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 11 of 19




       Plaintiffs rejected IBM’s offer and continue to insist that they are entitled to testimony and

workforce data for employees in every group in all 175 countries in which IBM operates, and for

resource actions that were not funded by the Concord, Maple, or Palm pools.39 Plaintiffs even

claimed in their most recent communication that the Court’s April 26, 2022 Order compels IBM

to produce data regarding foreign employees outside the United States.40 That is flat wrong. The

Court’s Order required IBM to supplement its responses to Plaintiffs’ Requests for Production

Nos. 19 and 20.41 And Plaintiffs’ Requests were expressly limited to the United States:42




       As a result of Plaintiffs’ continued refusal to compromise, IBM is now required to seek a

narrow protective order limiting Topics 1, 2, 11, and 12 of Plaintiffs’ 30(b)(6) Notice to employees

of IBM U.S., and reiterating that discovery of demographic data should be limited to the business

groups in which Plaintiffs worked at the time of their separation and to resource actions funded by

the Concord, Maple, and Palm pools.




provide data in response Topics 1, 11, and 12 from 2017 onward. See Ex. 2, Smith Decl., its Ex.
H.
       39
            Ex. 2, Smith Decl., its Ex. I.
       40
            Id.
       41
            Dkt. 96 at 1.
       42
         Ex. 2, Smith Decl., its Ex. A at 3, 5-6 (Request for Production No. 19: “For each of the
following RAs…”); (Request for Production No. 20: documents related to “any RA not listed in
Request #19, that occurred in the United States…”).


                                                10
      Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 12 of 19




II.    ARGUMENT

       Under Federal Rule of Civil Procedure 26(b)(1), discovery must be both “relevant to any

party’s claim or defense and proportional to the needs of the case.”43 If a party seeks discovery

beyond those limits, “[t]he court may, for good cause, issue an order to protect a party or person

from annoyance, embarrassment, oppression, or undue burden or expense…” 44 Courts thus

routinely issue protective orders narrowing or striking corporate deposition topics that are

irrelevant or unduly burdensome.45

       A.        Plaintiffs’ Requests Seek Irrelevant Information

                 1.      Data on Foreign Employees Outside the United States Is Irrelevant

       Topics 1, 2, 11, and 12 of Plaintiff’s 30(b)(6) requests seeking data on foreign employees

outside the United States are wholly irrelevant to either party’s claims or defenses in this case.46

Plaintiffs’ claims primarily arise under the ADEA, 47 which applies only to United States

employees. 48 Courts have repeatedly confirmed that the ADEA does not apply to foreign

employees outside the United States.49 Moreover, as a matter of common sense, decisions made


       43
            Fed. R. Civ. P. 26(b)(1).
       44
            Fed. R. Civ. P. 26(c)(1).
       45
           See, e.g., Krantz v. State Farm Fire & Cas. Co., 2016 WL 320148, at *7 (M.D. La. Jan.
25, 2016) (granting motion for protective order and striking 30(b)(6) topic seeking irrelevant
information); Gomez v. Ford Motor Co., 2017 WL 5178043, at *5 (W.D. Tex. June 7, 2017)
(similar); Torrey v. Infectious Diseases Soc’y of Am., 334 F.R.D. 79, 84–85 (E.D. Tex. 2019)
(granting motion for protective order when preparing witness to testify to 30(b)(6) topic would be
unduly burdensome).
       46
            Contra Fed. R. Civ. P. 26(b)(1).
       47
            Dkt. 5.
       48
            29 U.S.C. § 630(f).
       49
           See, e.g., Reyes-Gaona v. N.C. Growers Ass’n, 250 F.3d 861, 865 (4th Cir. 2001)
(internal citations and quotations omitted) (the ADEA’s definition of employee “was carefully
worded to apply only to citizens of the United States who worked for a U.S. company or its
subsidiary because Congress recognized that the well-established principle of sovereignty


                                                 11
      Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 13 of 19




by managers in foreign countries regarding employees in those countries who were not subject to

the ADEA do not shed any light on whether managers in the United States discriminated against

Plaintiffs on the basis of their age. This is especially true because resource actions are planned

and executed separately in each country, and only IBM U.S. employees are eligible for United

States resource actions.50

       Nor can any meaningful comparisons be drawn between data on IBM U.S. employees and

non-IBM U.S. employees due to the vast differences in local laws. As an example, and as noted

above, Japanese law only allows employers to conduct an involuntary reduction-in-force in very

narrow circumstances.51 Consequently, IBM Japan generally must offer voluntary exit packages

to incentivize employees in Japan to resign.52 Thus, even assuming, arguendo, that the average

age of employees in the Global Markets group of IBM Japan decreased by 20 years following a

2018 resource action, such a fact would not make it any more or less likely that Plaintiffs’ managers

in the United States selected them for separation because of their age. Therefore, Plaintiffs’

requests for data regarding foreign employees working outside of the United States (Topics 1, 2,

11, and 12) seek irrelevant information and should be denied.

       The Equal Employment Opportunity Commission (“EEOC”) recently reached a similar

conclusion, declaring that data on foreign employees outside the United States should not be

included in disclosures providing the titles and ages of employees considered and selected for



prohibited the United States from imposing its labor standards on another country”); O’Loughlin
v. The Pritchard Corp., 972 F. Supp. 1352, 1364 (D. Kan. 1997) (finding that the “intent of
Congress” was to make “ADEA inapplicable to non-citizens of the United States working
abroad”).
       50
            See Ex. 1, Long Decl., ¶ 5; Ex. 2, Smith Decl., its Ex. J.
       51
            Supra at Section I.B.
       52
            Id.


                                                   12
      Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 14 of 19




layoff.53 On January 24, 2021, the EEOC issued an opinion letter interpreting a subsection of the

ADEA known as the Older Workers Benefit Protection Act (“OWBPA”).54 Under the OWBPA,

if an employer seeks to solicit a release of ADEA claims in connection with a group exit program

like a reduction-in-force, the employer must comply with certain statutory requirements.55       In

particular, the employer must first make “OWBPA disclosures” i.e., provide the exiting employee

with the titles and ages of all employees who worked in the same “decisional unit” as the employee

and were selected for the exit program.56 The EEOC’s opinion letter clarified that employers “are

not required to include in OWBPA disclosures employees working outside the United States who

are not U.S. citizens.”57

       In fact, the EEOC’s reasoning closely tracks IBM’s arguments set forth above. For

instance, the EEOC considered that the OWBPA only requires disclosures to include “covered

employees” and that foreign workers outside the United States are not “covered” by the ADEA.58

The EEOC also noted that separation programs (like resource actions within IBM U.S.) were

unlikely to encompass non-United States citizens working abroad because employers may apply

different selection criteria or provide different separation benefits to comply with differing legal




       53
          U.S. Equal Emp. Opportunity Comm’n, Comm’n Opinion Letter: Older Worker Benefit
Protection Act (Jan. 14, 2021).
       54
            Id.
       55
            29 U.S.C. §626(f).
       56
            Id. at §§ 621(f)(1)(H)(i), (ii); 29 C.F.R. § 1625.22(f)(3)(i)(B).
       57
          U.S. Equal Emp. Opportunity Comm’n, Comm’n Opinion Letter: Older Worker Benefit
Protection Act (Jan. 14, 2021).
       58
          Id.; see also Sowe v. Pall Corp., 2018 WL 3862680, at *7 n.4 (N.D.N.Y. Aug. 14, 2018),
aff’d, 778 F. App’x 20 (2d Cir. 2019) (even with international decisional units, only United States
citizens working for an employer in a foreign workplace should be included on an age disclosure
because only they meet the ADEA definition of an “employee”).


                                                   13
      Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 15 of 19




requirements amongst countries.59 Thus, just as the law does not require employers to disclose

demographic data for foreign employees in the context of OWBPA disclosures, the Court should

not require IBM to do so in the context of discovery in this lawsuit.

                  2.      Data on Groups in Which Plaintiffs Did Not Work and for Resource Actions
                          Not Funded by Concord, Maple, or Palm Is Irrelevant and Outside the Scope
                          of Discovery

       In its April 26, 2022 Order, the Court limited discovery of demographic data with regard

to Plaintiff’s Requests for Production Nos. 19 and 20 to the business groups in which Plaintiffs

worked and to resource actions funded by the Concord, Maple, or Palm pools of restructuring

funding.60 Relying on similar arguments that the Court previously rejected in its April 26, 2022

Order, Topics 1, 2, 11, and 12 of Plaintiffs’ 30(b)(6) Notice seek data for all groups at IBM,

including groups in which no Plaintiff worked. Topic 2 also requests data regarding resource

actions that were not funded by the Concord, Maple, or Palm pools. Although IBM agreed to

provide data for (1) its overall IBM U.S. workforce, (2) each group in which a Plaintiff worked,

and (3) resource actions utilizing Concord, Maple, or Palm funding, IBM pointed out that

Plaintiffs’ 30(b)(6) Notice extended beyond the scope of discovery outlined in the Court’s April

26, 2022 Order.61 Plaintiffs nevertheless refused to amend their topics to conform to the Court’s

Order.62 Thus, IBM respectfully requests that the Court issue a protective order narrowing Topics

1, 2, 11, and 12 to the groups in which Plaintiffs worked and resource actions funded by the

Concord, Maple, or Palm pools, as the Court similarly ruled in it April 26, 2022 Order.63


       59
            Id.
       60
            Dkt. 96 at 1-2.
       61
            See Ex. 2, Smith Decl., its Ex. H.
       62
            See id., its Ex. I.
       63
          Cf. Alvarado v. Air Sys. Components LP, 2022 WL 800731, at *4 (N.D. Tex. Mar. 15,
2022) (issuing protective order: “The Court’s October 21, 2021 discovery Order denied Alvarado’s


                                                  14
      Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 16 of 19




       B.        Plaintiffs’ Requests Are Unduly Burdensome

       The Court should issue a protective order on the separate and independent ground that

Topics 1, 2, 11, and 12, as drafted, are overly broad and unduly burdensome. As noted above,

IBM operates in over 175 countries.64 In order to provide the “total number of employees hired

by IBM since 2014, by year, for All Business Segments and All Geographic Regions,” IBM’s

corporate designee would need to be prepared to testify as to thousands of data points on Topic 11

alone (175 countries x 7 groups x 8 years). Even if Plaintiffs only sought data for Topic 11 at the

geographic region level, IBM’s designee would still be required to provide over 330 data points

(6 geographic regions x 7 groups x 8 years) at his or her deposition. That is simply not practical.

A discovery request like Topic 11 would be unduly burdensome if it were formulated as an

interrogatory or request for production, let alone as a topic for a 30(b)(6) deposition.65

       Furthermore, due to international data privacy laws such as the GDPR, there is a significant

burden associated with producing this data in a way that will not run afoul of these data privacy

laws. In some instances, it may violate data privacy laws to provide this information or to store it

in the United States.66 In any event, to comply with Plaintiffs’ requests as written, IBM would



requests to compel production of documents covering the comparator employee data sought here
because the requests were not sufficiently tailored to seek data about similarly situated
employees… Now, unsatisfied with the returns from document discovery, Alvarado seeks to learn
through the new deposition of ASC’s corporate representative what could be learned more
conveniently through properly tailored document requests.”).
       64
            Supra at Section I.A.
       65
          Cf. Alvarado, 2022 WL 800731, at *4 (issuing protective order striking 30(b)(6) topics
which sought information that “could be more conveniently obtained” through requests for
production); Prewitt v. Miss. State Univ., 2008 WL 4224919, at *2 (N.D. Miss. Sept. 11, 2008)
(affirming magistrate’s ruling that employment statistics are not “properly sought in a Rule
30(b)(6) deposition” and are more appropriately requested via interrogatories).
       66
          See, e.g., Loi 68-678 du 26 juillet 1968 [Law 68-678 of July 26, 1968], Journal Officiel
de la République Française [J.O.] [Official Gazette of France], July 27, 1968 (restricting the
transfer of personal data to the United States for civil litigation purposes ); Personal Information


                                                 15
         Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 17 of 19




have to conduct a country-by-country analysis to assess whether, when, and how it could transfer

personal data to the United States for discovery in civil litigation and then would need to satisfy

various prerequisites (such as giving notice to affected employees, obtaining consent, consulting

with works councils, etc.) before it could even begin to transfer the data. Navigating these data

privacy obstacles adds yet another disproportionate layer of complexity to collecting, collating,

and analyzing the staggering amount of data that Plaintiffs’ Notice seeks. Therefore, the Court

should issue a protective order limiting Topics 1, 2, 11, and 12 to the IBM U.S. workforce, the

groups in which Plaintiffs worked, and the resource actions utilizing Concord, Maple, or Palm

funds.

III.     CONCLUSION

         For the foregoing reasons, IBM respectfully requests that the Court enter a protective order

limiting Topics 1, 2, 11, and 12 of Plaintiffs’ 30(b)(6) Notice to employees of IBM U.S. and

reiterating that discovery of demographic data is limited to the groups in which Plaintiffs worked

at the time of their separation and to resource actions funded by the Concord, Maple, and Palm

pools.




Protection Law (promulgated by the Standing Comm. Nat’l People’s Cong., Aug. 20, 2021,
effective Nov. 1, 2021) (China) (prohibiting the transfer of personal information to foreign judicial
authorities without the approval of the Chinese government).


                                                 16
     Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 18 of 19




Dated: June 7th, 2022                 Respectfully submitted,

                                      /s/ Edward M. “Ted” Smith


                                      CORNELL SMITH MIERL
                                      BRUTOCAO BURTON, LLP
                                      1607 West Avenue
                                      Austin, Texas 78701
                                      Telephone: (512) 328-1540
                                      Telecopy: (512) 328-1541

                                      Edward M. “Ted” Smith
                                      State Bar No. 00791682
                                      tsmith@cornellsmith.com
                                      Andrew Broadaway
                                      State Bar No. 24082332
                                      abroadaway@cornellsmith.com
                                      Alan Lin
                                      State Bar No. 24085435
                                      alin@cornellsmith.com

                                      Attorneys for Defendant
                                      International Business Machines Corporation




                                     17
      Case 1:20-cv-00969-DAE Document 101-2 Filed 06/07/22 Page 19 of 19




                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(g), counsel for Defendant has complied with the Court’s

conference requirement and conferred with Plaintiffs’ counsel on June 7, 2022, and Plaintiffs’

counsel stated that they oppose the relief sought by Defendant in the foregoing motion.



                                                      /s/ Edward M. “Ted” Smith
                                                      Edward M. “Ted” Smith



                                CERTIFICATE OF SERVICE

       I hereby certify that on June 7, 2022, I electronically filed a true and correct copy of the

foregoing with the Clerk of Court using the CM/ECF system, which will send notice such filing

to all counsel of record.



                                                      /s/ Edward M. “Ted” Smith
                                                      Edward M. “Ted” Smith




                                                18
